




Dismissed and Memorandum Opinion filed November 2, 2006








Dismissed
and Memorandum Opinion filed November 2, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00881-CR

____________

&nbsp;

JEREMIE LEE BRADFORD,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
338th District Court

Harris County, Texas

Trial Court Cause No. 1082784

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to the offense of possession of cocaine.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced appellant on September 5, 2006, to confinement for two years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
November 2, 2006.

Panel consists of Justices Anderson, Hudson, and
Guzman.

Do Not Publish C Tex. R. App. P.
47.2(b)





